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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                NO. 1:23-cr-00030-CRC-1


UNITED STATES OF AMERICA
v.

LYNDA BENNETT,
              Defendant.


                              APPEARANCE OF COUNSEL


TO:    The Clerk of Court and All Parties of Record

       I have been admitted Pro Hac Vice to practice in this court, and I appear in this case as

counsel for Defendant Lynda Bennett.

Dated: February 6, 2023



                                                   Respectfully submitted,

                                                   /s/Kearns Davis___________
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          Case 1:23-cr-00030-CRC Document 7 Filed 02/06/23 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I certify that the foregoing APPEARANCE OF COUNSEL was served upon the

following by electronic CM/ECF notification to:

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Criminal Division
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Washington, DC 20530
202-252-1900
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       This the 6th day of February, 2023.




                                                  /s/Kearns Davis___________
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